    Case 1:02-cr-01584-RMB         Document 93       Filed 04/29/25     Page 1 of 59




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

                  -against                                 02-CR-1584 (RMB)
LOUIS DAIDONE,                                                  ORDER

                             Defendant.




      The Government is respectfully requested to respond to Defendant's motion on or before
May 23, 2025.




Date: April 29, 2025
New York, New York                                      RICHARD M. BERMAN,U.S.D.J.
     Case 1:02-cr-01584-RMB      Document 93     Filed 04/29/25    Page 2 of 59




                                    April 13, 2025

 Louis Daidone
 #39065-053
 USP Coleman 1
 USP COLEMAN I
 U.S. PENITENTIARY
 P.O. BOX 1033
 COLEMAN, FL 33521



United States District Court
Honorable Judge Richard Berman
500 Pearl Street
Courtroom 17 B
New York, NY 10007-1312

Dear Judge Berman,

Finding a place to begin this letter seems to be the most difficult. But I think the
best place to begin is by saying I understand that you are not a person that is easily
fooled. I know that you have been on the bench for a while now and there have
been many people that have come before you that are seeking mercy and
sometimes simply grace. I too come before you Judge seeking the same. I am
prayerful that you will see the change in me and my character.

There is no doubt that I deserved to go to prison, and I must admit that I deserved a
very significant sentence for the irrational and irresponsible choices that I made in
life. Today I can tell you with honesty I regret every single one of them. Not
simply because I am in prison and have been for over 22 years but because of the
decisions, I made hurt so many people. I want to publicly apologize to the people
that I have harmed, the family members and my community. I was part of the
problem and not part of the solution. Today, Judge Berman, I can tell you that I am
deeply sorry for that. There are not enough words in the world to truly reflect the
depths of my regret and remorse. I am committed to never again making choices
that can hurt others, my community, my family, or myself.

I know that granting compassionate release is never an easy choice. Over the years
that I have been here I have seen many people that I have been incarcerated with
                                          1
     Case 1:02-cr-01584-RMB      Document 93     Filed 04/29/25   Page 3 of 59




get that second chance and do great things with it. My hope is to be able to prove
to you that I am worthy of a second chance as well. Failure is not an option for me
in any way, shape or form. All I have to offer is my word to you that if given a
second chance I will not let you down. I will not disrespect the US Attorney's
office by committing any more crimes, or the other people behind me that are also
seeking a second chance, nor my family or the people who have believed in and
supported me over all these years.

If this case is just about punishment, then I deserve everything that was given but if
it is also about change and self-betterment I want you to know that I have made
those changes. I am now 79 years old and have spent many years of my life in
federal prison. Things have not been easy for me the last few years with my health
and being able to take care of myself. My hope is to have a chance to spend
whatever little time I have left with my wife, daughter, grandchildren, and family.

Today, Judge Berman, instead of mercy I am asking you for grace. Sometimes
people are simply given grace and today I ask for that in my request for a second
chance to reclaim my life.

                                    Respectfully,

                                   Louis Daidone




                                         2
     Case 1:02-cr-01584-RMB       Document 93   Filed 04/29/25   Page 4 of 59




                         CERTIFICATE OF SERVICE



      I, Louis Daidone, hereby certify that on this _day of April 2025, I did place

the enclosed Motion Requesting a Reduction in Sentence Pursuant to 18 U.S.C. §

3582, in the prison mailing system addressed to the following parties:

United States District Court
Court Clerk
500 Pearl St.
Courtroom 17 B
New York, NY 10007-1312




United States Attorney's Office
One St. Andrews Place
New York, NY 10007




Signed under the penalty of perjury

this __day of April 2025.



                                   Louis Daidone
     Case 1:02-cr-01584-RMB      Document 93    Filed 04/29/25   Page 5 of 59




                IN THE UNITED STATES DISTRICT COURT
                              FOR THE
                   SOUTHERN DISTRIT OF NEW YORK


LOUIS DAIDONE
                          Petitioner,

      vs.                               Case No: 02-CR-1584 (SDNY) (RMB)


UNITED STATES OF AMERICA

                          Respondent.




       MOTION FOR REDUCTION IN SENTENCE PURSAUNT TO
                       18 u.s.c. § 3582



                                INTRODUCTION

                SHOULD LOUIS DAIDONE DIE IN PRISON?

      Mr. Daidone has been in prison for over 22 years for actions that he deeply

regrets not because he is in prison but because he knows those irrational and

irresponsible decisions hurt others. Many Courts across the country including in

this district and the Eastern District of New York have recently granted

compassionate release to those convicted of similar crimes to Mr. Daidone. Today




                                         1
     Case 1:02-cr-01584-RMB      Document 93     Filed 04/29/25   Page 6 of 59




at the age of 79 years old Mr. Daidone is asking this Court to grant him an

opportunity to spend his last days with his family.

       People grow, mature and evolve, and because conditions and circumstances

change, it is virtually impossible to make sound decisions when first imposing a

sentence about precisely how long someone should spend behind bars. But that is

exactly how the federal criminal justice system works. Judges are required to act as

if they are omniscient and the prison terms they impose are - for all intents and

purposes - final.

      And, until the recently enacted First Step Act, virtually no means existed for

taking a "second look" at them, even decades later when continued confinement

(for many offenders) can no longer reasonably be justified on moral or utilitarian

grounds.

      Congress did, when it abolished parole through passage of the

Comprehensive Crime Control Act of 1984, vest the U.S. Bureau of Prisons (the

"BOP") with the authority to review the sentences imposed on a few narrow

categories of defendants. But the BOP largely failed to exercise that discretion.

Responding to concerns that the BOP was not making adequate use of its legal

authority (and for other unrelated reasons), lawmakers passed, and in December

2018 Donald J. Trump signed into law, the bipartisan First Step Act, a sweeping

criminal justice reform bill intended to promote rehabilitation, reduce recidivism


                                          2
     Case 1:02-cr-01584-RMB      Document 93      Filed 04/29/25   Page 7 of 59




and cut excessive sentences. Thus, today, federal judges are authorized and

empowered to take a "second look" at the sentences imposed on offenders who

present "extraordinary and compelling reasons" for sentence reductions and to

reduce the sentences - even to time-served- of those offenders for whom the 18

U.S.C. § 3553(a) sentencing factors support a sentence reduction.

       Louis Daidone, age 79, is precisely the type of individual for whom the First

Step Act was intended. He has served almost 23 years of his life sentence,

amounting to roughly 28 years imprisonment once "good conduct time" is

accounted for. He suffers from innumerable serious and debilitating medical

conditions that hamper his ability to care for himself in federal prison and that will

only further deteriorate as he continues to age. He has rehabilitated himself to the

fullest extent possible (even though he did not stand to gain anything other than

personal improvement from doing so). And he has a close-knit group of family and

friends who are committed to supporting him if he is released from prison. Also,

today, as mentioned above, Mr. Daidone makes no excuses for his decidedly

serious criminal conduct. He does not seek to justify, diminish or detract from the

gravity of his offenses. Rather, he unequivocally accepts responsibility for his

criminal conduct. Mr. Daidone is also deeply remorseful for the crimes that he

committed and the people who those crimes hurt and affected.




                                          3
     Case 1:02-cr-01584-RMB      Document 93       Filed 04/29/25   Page 8 of 59




      Mr. Daidone now moves this court pro-se for an order granting a reduction

of sentence as he respectfully submits that "extraordinary and compelling reasons,"

exist for a reduction of Mr. Daidone's sentence.

                                      FACTS

      Mr. Daidone was arrested and charged with various offenses. He would

eventually be sentenced to life. Mr. Daidone is 79 years old and currently is

scheduled to die in prison, absent this Court's compassion. The sentence in this

case was motived from a judgment convicting Daidone on a five-count indictment

- that generated three life and two 20-year tenns, all running concurrently.

                               ARGUMENT

             Mr. Daidone's total sentence of life imprisonment is and was

 extraordinary. If sentenced today it is possible that the life sentence would not

 be imposed as outlined below. He has been in prison for over 22 years for

crimes at issue here.

      There is no excuse for his actions, however, he submits that the current

sentence is longer than necessary in this case to achieve the objectives that a

sentence be sufficient but not greater than necessary, to achieve the goals of

sentencing as spelled out in 18 U.S.C. § 3582. Mr. Daidone does not dispute the

criminal conduct for which he was convicted at trial. Rather, he recognizes,

understands and accepts full responsibility for, and is remorseful for, the crimes
                                         4
    Case 1:02-cr-01584-RMB      Document 93     Filed 04/29/25   Page 9 of 59




he committed. Indeed, Mr. Daidone knows that he engaged in serious criminal

conduct that constituted serious violations of the law deserving of condemnation

and punishment. Still, today, almost 23 years after his arrest and detention, and

after doing all he possibly could to rehabilitate and reform himself, Mr. Daidone

is, particularly given his serious medical conditions, worthy and deserving of a

"second look" and a "second chance" in the form of a reduced sentence of time

served. See United States v. Vigneau, 473 F. Supp. 3d 31, 39 (D.R.I. 2020) ("it is

hard to reconcile Mr. Vigneau's thirty-year sentence with modem sentencing

regimes and statistics, and especially with an ever-increasing body of research

that questions the effectiveness of imprisoning convicted defendants for a period

greater than reasonably necessary").

         I.     18 U.S.C. § 3582(c)(l)(A) EMPOWERS THIS COURT TO
                        REDUCE MR. DAIDONE'S SENTENCE


     Pursuant to the First Step Act's changes to 18 U.S.C. § 3582(c)(l)(A)

district courts may now reduce a defendant's sentence upon the filing of a

sentence reduction motion after the occurrence of the first of the following two

events (commonly known as the "exhaustion" of"administrative remedies"): (1) a

Warden's rejection of a request for a sentence reduction motion; or (2) the

passage of thirty days without a response from a Warden to a request for a

sentence reduction motion. Also, pursuant to Guidelines amendments that went

                                        5
   Case 1:02-cr-01584-RMB       Document 93     Filed 04/29/25   Page 10 of 59




into effect on November 1, 2023, Application Note 1B 1.13 to the Guidelines no

longer governs 18 U.S.C. § 3582(c )( 1)(A), sentence reduction motions. See

https://www.ussc.gov/sites/ default/files/pdf/amendment-process/reader-friendly-

amendments/20230405 _prelim-RF.pdf (last visited March 13, 2025).

      Rather, today, no limits exist as to the "extraordinary and compelling

reasons" upon which a sentence reduction motion may be based or granted. See

United States v. Brooker, 976 F.3d 228, 237 (2d Cir. 2020) ("the First Step Act

freed district courts to consider the full slate of extraordinary and compelling

reasons that an imprisoned person might bring before them in motions for

compassionate release").

     This Court therefore has broad discretion to determine whether

"extraordinary and compelling reasons" exist such that a reduction of Mr.

Daidone's life sentence is warranted. See United States v. Anderson, Case No. 18-

CR-71 (RJA), 2021 WL 776975, at *2 (W.D.N.Y. Mar. 1, 2021) ("[d]istrict courts

have broad discretion in deciding whether to grant or deny a motion for a sentence

reduction"); United States v. Johnson, Case No. 93-CR-631 (PGG), 2021 WL

640054, at *3 (S.D.N.Y. Feb. 18, 2021) ("the district court has broad discretion in

evaluating a defendant's motion for compassionate release ... and may consider

the full slate of extraordinary and compelling reasons that an imprisoned person

might bring before them") (internal citations and quotation marks omitted).

                                         6
   Case 1:02-cr-01584-RMB       Document 93     Filed 04/29/25   Page 11 of 59




     Thus, after exhausting his/her BOP administrative remedies, "a court may

reduce a [defendant's] term of imprisonment" pursuant to 18 U.S.C. §

3582(c)(l)(A) "ifit: (1) finds that extraordinary and compelling reasons warrant a

reduction; (2) finds that the defendant will not pose a danger to the safety of any

other person in the community; and (3) considers the sentencing factors outlined

in 18 U.S.C. § 3553(a)." United States v. Khawaja, Case No. 18-CR-127 {LM),

2020 WL 5549123, at *2 (D.N.H. Sept. 16, 2020).

     II.    MR. DAIDONE HAS EXHAUSTED HIS PREREQUISITE BOP
            ADMINISTRATIVE REMEDIES.

     On March 17, 2025, Mr. Daidone submitted a request for a sentence reduction

motion to the Warden of USP Coleman 1, the maximum-security BOP facility at

which he was detained at the time. (Exhibit A.) He asserted that he should be

granted a sentence reduction because of his poor health and his inability to care for

himself within the prison environment, the unanticipated and unexpectedly harsh

conditions of confinement during the COVID-19 pandemic, changes in law that

may have effected the sentencing package in the case at bar, the sentencing disparity

between himself and his codefendants, and Mr. Daidone's exceptional

rehabilitation. (Id.) 30 days have now passed, and the Warden has not moved the

Court for a reduction on Mr. Daidone's behalf. Mr. Daidone therefore has


                                         7
    Case 1:02-cr-01584-RMB       Document 93     Filed 04/29/25   Page 12 of 59




 exhausted his pre-requisite administrative remedies and is now statutorily

 authorized to present this Court with the instant 18 U.S.C. § 3582(c)(l)(A) sentence

 reduction motion.

      III.   THE "EXTRAORDINARY AND COMPELLING REASONS"
             THAT WARRANT A REDUCTION OF MR. DAIDONE'S LIFE
             SENTENCE TO TIME-SERVED


      Considered collectively, the following factors constitute "extraordinary and

 compelling reasons" for a reduction of Mr. Daidone's life sentence to time-served.

 See United States v. Trenkler, 47 F.4th 42, 49 (1st Cir. 2022) ("the whole may be

 greater than the sum of its parts, and reasons that might not do the trick on their

 own may combine to constitute circumstances that warrant a finding that the

 reasons proposed are, in the aggregate, extraordinary and compelling").

      A. Mr. Daidone's Poor Health and Deteriorating Health

      Since this Courts denial of compassionate release Mr. Daidone's health has

worsened and his ability to take care of himself within the prison environment has

become increasingly difficult. Daidone at the age of 79 years old suffers from

numerous serious and debilitating medical conditions that, considered collectively,

constitute "serious physical or medical condition[s]" arising from "the aging

process" that "substantially diminish" his "ability ... to provide self-care within

the environment of a correctional facility and from which [he] is not expected to



                                          8
    Case 1:02-cr-01584-RMB       Document 93     Filed 04/29/25   Page 13 of 59




recover" - that is, he is "experiencing a serious deterioration of physical or mental

health because of the aging process." U.S.S.G. § 1B 1.13.

      Mr. Daidone had open heart surgery in which a pacemaker was implanted

and he is currently still in A-Fib. Mr. Daidone lives with constant chest pain. See

Exhibit B. Daidone also had a knee surgery replacement at the Springfield facility.

That surgery was unsuccessful as the FBOP failed in assisting Mr. Daidone in

getting the straightening and bending back to normal post-surgery. This has

resulted in Mr. Daidone falling down resulting in the need for him to now use a

walker. The pain in the knee has prevented him from making it to the mess hall for

meals, and other appointments as he sometimes cannot walk even with the walker.

Mr. Daidone now also cannot use his hands much to write or do other tasks as he

has uncontrollable shaking in his hands. There is also an issue with a possible

hernia as of recent that the BOP says they are going to look at. However, at the

time of this writing that has not been done. There have also been issues with severe

sciatica that's also required hospitalization and morphine injections. Since this

Courts prior decision Mr. Daidone's conditions have worsened, and he now spends

most of his days lying in bed. There are days when he is unable to bathe himself, or

as mentioned above make it to the mess hall to eat thus, leaving him for days

without eating. It should also be noted that Mr. Daidone was brought back to the

prison the day after his surgery. He was given no pain medication, could not walk


                                          9
     Case 1:02-cr-01584-RMB      Document 93      Filed 04/29/25   Page 14 of 59




to the mess hall, and no food was brought to him while at the Springfield facility.

Daidone lost over 30 pounds during that time.

      Mr. Daidone can no longer take care of himself within the prison

environment. Records obtained from the Bureau of Prisons (BOP) show at least

4,950 people died in its custody over roughly the past decade. Although there

are more than 120 federal prisons nationwide, a quarter of those deaths

occurred in a single place: the Butner Federal Correctional Complex in Butner,

North Carolina. https://www.npr.org/2023/09/23/l 200626 l 03/federal-prison-

deaths-butner-med ical-center-sick-inmates

      While Daidone is not housed at the Butner prison this demonstrates the care

that is being given within the Federal Prison system. (While he is not housed there

it is possible that he may very well end up there as he is awaiting the transfer). It

also gives insight into what is transpiring within the FBOP with elderly and sick

prisoners. The Bureau of Prisons claims to meet the same medical standards as

any independent hospital, stating on its website that it is accredited by the

nation's leading accreditation agency. But NPR found that, in fact, the BOP's

certification lapsed over two years ago.

https ://www .npr.org/2023/09/23/ 1200626103/federal-prison-deaths-butner-

medical-center-sick-inmates




                                           10
    Case 1:02-cr-01584-RMB        Document 93   Filed 04/29/25   Page 15 of 59




      In this NPR investigation the data was gathered and analyzed from the

Federal Government. In addition to gathering and analyzing data from the

federal government, NPR reviewed court and medical records and interviewed

inmates, lawyers, families and bureau employees while looking into the stories

of patients in federal prisons.

   • Angela Beck, a 47-year-old at the time with a family history of breast
     cancer, discovered lumps in her left breast while in federal prison in
     Aliceville, Ala., and asked to see a doctor. After receiving imaging results
     "'highly suggestive' of cancer," according to an opinion issued by a federal
     judge, she waited more than eight months for a biopsy, which confirmed the
     cancer. Another two months passed before she got surgery, during which
     doctors confirmed the disease had spread to her lymph nodes. Beck then
     waited another five months before she saw an oncologist. By that time, it
     was too late to start chemotherapy or radiation. A federal judge granted her
     release in June 2019.

   • Michael Derentz, a 70-year-old inmate at the Fort Dix federal prison in New
     Jersey, was granted compassionate release in 2022 after a federal judge
     found the BO P's repeated delays in care "disturbing." "Delays in securing
     urgently needed follow-up appointments contributed to Derentz becoming
     blind in his left eye," the judge wrote.

   • Joseph Guadagnoli died of cancer while in custody at the federal prison in
     McDowell County, W.Va., in July 2022, after complaining of a litany of
     ailments. By the time doctors diagnosed his cancer in May of that year, it
     was too late for treatment, his brother Michael Guadagnoli said. On Sept. 7,
     2020, records show, Joseph wrote a sick call request to staff: "My
     conditions are getting worse. I need to be seen soon." On Oct. 10: "This is
     taking a psychological toll on me - what do I have to do to be seen - to
     get attention?" On Dec. 1: "I cannot breathe .... I have been asking for seven
     months."

   • In April 2020, Turhan Law began having nosebleeds several times a day at
     the federal prison in Loretto, Pennsylvania. According to a compassionate
     release motion filed by his lawyer, that bleeding continued for months
     before prison officials took him to a hospital. In the summer of 2020, a

                                         11
    Case 1:02-cr-01584-RMB      Document 93     Filed 04/29/25   Page 16 of 59




      biopsy confirmed squamous cell carcinoma, a type of cancer. But by the
      time Law arrived at Butner in November of that year, no treatment plan had
      been started, according to a supplemental motion filed in support of Law's
      release request. In December 2020, a month after the BOP sent Law to
      Butner, a federal judge granted his request for release, citing in part the
      delays in care Law experienced.

   • Michael Boughner, a federal prisoner at the U.S. penitentiary in Florence,
     Colo., complained of horrible headaches for at least five weeks before he
     saw a doctor, his mother, Linda Renta, said. "He fainted four or five times,
     and the guards were convinced he was faking it," Renta said. "They found
     that he had a tumor in his brain the size of an egg." The BOP sent Boughner
     to Butner, where he lived for about five months before, prison records
     show, he died of cancer at age 50 in March 2019.

      It is well known in the legal community (and several courts have even

acknowledged) that the medical care provided by the BOP is less than optimal.

See, e.g., C.J. Ciarmella, Judge Holds Federal Bureau of Prisons in Contempt for

Allowing Man to Waste Away from Untreated Cancer, REASON (Nov. 10, 2022)

(found at https://reason.com/2022/10/10/judge-holds-federal-bureau-of-prisons-in-

contempt-forallowing-man-to-waste-away-from-untreated-cancer/) (last visited

Apr. 10, 2024) (reporting on the Honorable Roy Dalton of the United States

District Court for the Middle District of Florida castigating the BOP for providing

inferior medical care and Judge Dalton having written that the BOP should be

"deeply ashamed" of the medical care it provided to a dying inmate).

      The starting point in determining what constitutes "extraordinary and

compelling reasons" under§ 3582(c)( I )(A)(i) is the Sentencing Guideline

discussing compassionate release issued by the United States Sentencing

                                         12
    Case 1:02-cr-01584-RMB       Document 93      Filed 04/29/25   Page 17 of 59




Commission. See U.S.S.G. § 1B1.13; see also United States v. Rivernider, No.

CRl0-222, 2019 WL 3816671, at *2 (D. Conn. Aug. 14, 2019). The Guideline

provides that extraordinary and compelling reasons exist for the defendant's

medical condition due to:

(i) The defendant is suffering from a terminal (i.e., a serious and advanced illness

with an end-of-life trajectory). A specific prognosis of life expectancy (i.e., a

probability of death within a specific time period) is not required. Examples

include metastatic solid-tumor cancer, amyotrophic lateral sclerosis (ALS), end-

stage organ disease, and advanced dementia.

(ii) The defendant is

(I} suffering from a serious physical or medical condition,


(II) suffering from serious functional or cognitive impairment, or

(III) experiencing deteriorating physical or mental health because of the aging

process,

that substantially diminishes the ability of the defendant to provide self-care within

the environment of a correctional facility and from which [the defendant] is not

expected to recover. U.S.S.G. § 1B1.13 cmt. n.l(C).




                                           13
    Case 1:02-cr-01584-RMB      Document 93     Filed 04/29/25   Page 18 of 59




      The medical and physical conditions from which Mr. Daidone suffers are

progressive, meaning they will only worsen as he continues to age. Indeed, he is

not expected to recover (or even improve) from many of those conditions. Rather,

Mr. Daidone's medical and physical conditions will continue to deteriorate as they

inevitably advance as he continues to age. Simply put, Mr. Daidone's "body and

mind [are] besieged with mounting, serious afflictions." United States v. Hansen,

Case No. 07-CR-52 (KAM), 2020 WL I 703672, at *8 (E.D.N.Y. Apr. 8, 2020).

Simply put, "it is evident" that Mr. Daidone "is experiencing a serious

deterioration in physical health as he ages." United States v. Esparza, Case No. 07-

CR-294 (BL W), 2020 WL I 696084, at *2 (D. Id. Apr. 7, 2020) See also United

States v. Salemo, Case No. 11-CR-65 (JSR), 2021 WL 4060354, at *4 (S.D.N.Y.

Sept. 7, 2021) (finding "extraordinary and compelling reasons" for a sentence

reduction for a 77-year-old defendant based on his "age and growing list of

medical problems").

      A reduction of Mr. Daidone's life sentence to time-served would reflect not

only the reality of his medical and physical conditions today but also the inevitable

deterioration of his health as he continues to age. See United States v. Samuel,

Case No. 16-CR-0117 (ELH), 2023 WL 8650366, at *15 (D. Md. Dec. 14, 2023)

(reducing sentence of 56-year-old career offender to 120 months imprisonment,

in part, because he "suffers from an array of chronic, serious medical conditions")

                                         14
    Case 1:02-cr-01584-RMB        Document 93     Filed 04/29/25    Page 19 of 59




After all, life in prison - with its stressors, violence and disease - can significantly

shorten a defendant's life expectancy. See United States v. Taveras, 436 F. Supp.

3d 493, 500 (E.D.N.Y. 2006) (life expectancy within federal prison is considerably

shortened). Mr. Daidone is 79 years old and currently housed in one of the federal

prison's most dangerous prisons in the country that has been plagued with extreme

violence resulting in prolonged lockdowns which also affect's one's mental health.

       IV.   The Length of Mr. Daidone's Sentence

      To date, Mr. Daidone has served almost 23 years of his life sentence, longer

than any of his co-defendants served. We therefore submit that the length of Mr.

Daidone's sentence and the almost 23 years he has already served support the

conclusion that "extraordinary and compelling reasons" exist for a reduction of his

life sentence to time-served. See, e.g., United States v. Maumau, 993 F.3d 821, 837

(10th Cir. 2021) (holding that the district court had discretion to grant an 18 U.S.C.

§ 3582(c)(l)(A) sentence reduction in part because of the "incredible length of'' the

defendant's sentence); Brooker, 976 F.3d at 237 (holding that a court should

consider "all possible reasons for compassionate release," including the "injustice"

of the length ofan offender's sentence).

       The Court in this case can also consider the sentencing disparities in this case

and the facts as they apply to Mr. Daidone. While he does not discredit the


                                           15
    Case 1:02-cr-01584-RMB       Document 93     Filed 04/29/25    Page 20 of 59




seriousness of the offense and the need for a harsh punishment Daidone asks that the

Court consider the sentences and time that the accomplices served for the conduct

in this case. The codefendants who actually killed Mr. Facciolo were implicated in

the murder, charged and convicted. Frank Lastorino, 82, was released from prison

in 2008 after serving part of an 18-year sentence imposed, upon a guilty plea, in

Sept. 1994. Richard Pagliarulo died in prison in 1999, aged 50, after serving under

four years of a life sentence imposed, upon a jury verdict, in Jun. 1995.

      In United States v. Ferguson, No. 2:10-CR-20403-NGE-MKM, ECF. NO.

682, at 5-11 (E.D. Mich. Apr. 29, 2021), the court held that Ferguson's health

conditions, susceptibility to COVID-19, good record of rehabilitation, and the

sentencing disparity between him and his more culpable codefendant were

extraordinary and compelling. Ferguson's co-defendant was granted clemency by

President Trump on January 13, 2021, which then created a disparity with Ferguson.

The court concluded that it would "be inequitable to require Defendant to complete

the lengthy sentence originally imposed while the more culpable co-defendant, who

initially received an even lengthier sentence, has been released." Id. at I 0. See also

United States v. Ezell, No. 02-815-01, 2021 U.S. Dist. WL 510293, at *8, (E.D. PA.

Feb. 11, 2021) (reducing sentence of 132 years to 22 years for extraordinary and

compelling reasons included an unduly harsh sentence, changes in the law, and a

sentencing disparity with already released co-defendants); United States v. Edwards,

                                          16
    Case 1:02-cr-01584-RMB      Document 93     Filed 04/29/25   Page 21 of 59




No. CR PJM 05-179, 2021 WL 1575276, at *2 (D. Md. Apr. 22, 2021) (reducing

sentence and finding that sentencing disparity between the defendant and "his less

culpable co-defendants qualifies as an extraordinary and compelling circumstance

under§ 3582(c)(l)(A)").

      V.     MR. DAIDONE'S INCARCERATION FOR THE ENTIRETY
             OF THE COVID-19 PANDEMIC

      Mr. Daidone's imprisonment for the entirety of the COVID-19 pandemic

was unusually harsh. It included extensive and extended lockdowns during which

(among other things) he was not permitted outside his cell except for very limited

periods of time and for very limited purposes. Family visitation was suspended for

long stretches of time. He had only limited access to CorrLinks and therefore was

unable to communicate with family and friends during an intensely frightening

time. Access to counsel was severely restricted. Access to religious services/clergy

was virtually non-existent. And the BOP suspended all rehabilitative programming.

Perhaps most significantly, Mr. Daidone suffered severe isolation because of the

quarantines and extended lock-downs that the BOP imposed as part of its (largely

ineffective) efforts at controlling the spread of COVID-19, all the time worrying

that he might "contract[] a once-in-a-century deadly virus." United States v.

Johnson, Case No. 16-CR-319 (NGG), 2023 WL 3093617 (E.D.N.Y. Apr. 26,




                                         17
    Case 1:02-cr-01584-RMB        Document 93   Filed 04/29/25   Page 22 of 59




2023). (Due to the prison he is housed in he is still under extreme lock-downs due

to the violence at the prison.)

      Such conditions of confinement and still others, all arising from the COVID-

19 pandemic, made the conditions of confinement that Mr. Daidone endured over

the past four-plus years far harsher than what the Court could possibly have

imagined at sentencing - a COVID-19- related factor that numerous courts have

found can contribute to a finding of"extraordinary and compelling reasons" for a

sentence reduction, particularly for offenders (like Mr. Daidone) who were

incarcerated for the entirety of the COVID-19 pandemic. See Reynolds v. United

States, Case No. 99-CR-520 (NGG), 2022 WL 1444167, at 4-6 (E.D.N.Y. May 6,

2022) (finding that the harsh conditions of confinement arising from the COVID-

19 pandemic, combined with the offender's age and substantial rehabilitation,

constituted "extraordinary and compelling reasons" for a sentence reduction);

United States v. Lora, Case No. 16-CR-44 (KPF), 2022 WL 1055749, at *5 6

(S.D.N.Y. Apr. 8, 2022) ("[P]andemic-induced conditions of confinement may

constitute 'extraordinary and compelling' circumstances warranting compassionate

release, particularly for defendants who have (i) served long sentence and (ii) been

detained for the entirety of the pandemic"); United States v. Miranda, Case No. 12-

CR-256 (GAG), 2021 WL 4592528, at* 10 (D.P.R. Aug. 30, 2021) ("pandemic



                                         18
     Case 1:02-cr-01584-RMB      Document 93      Filed 04/29/25   Page 23 of 59




conditions and [the offender's] medical history have made his punishment via

confinement to this point harsher than it otherwise would have been").




       VI.   MR. DAIDONE'S REHABILITATION

       Although 28 U.S.C. § 994(t) provides that "[r]ehabilitation of the defendant

alone shall not be considered an extraordinary and compelling reason" for a sentence

reduction, rehabilitation is still relevant to the question of whether a sentence should

be reduced pursuant to 18 U.S.C. § 3582(c)(l)(A). United States v. Torres, 464 F.

Supp. 3d 651,661 (S.D.N.Y. 2020), See also United States v. Marks 455 F. Supp.

3d 17 (W.D.N.Y. 2020), Judge David G. Larimer granted Marks's motion for

compassionate release. In his decision, Judge Larimer highlighted the importance of

considering an inmate's rehabilitation when evaluating such motions. He noted that

"the Court must consider the defendant's post-sentencing conduct, including his

rehabilitation, when evaluating compassionate release requests." This underscores

that overlooking rehabilitation efforts could be an error in the compassionate release

analysis.



                                          19
   Case 1:02-cr-01584-RMB       Document 93     Filed 04/29/25   Page 24 of 59




     Mr. Daidone has strived to become a better person even though he is serving

a life sentence. Mr. Daidone has certainly changed his behavior, and thinking, as

one would hope after more than 23 years in prison. Yet "[ m]any defendants who

pass through this Court ultimately become fully functioning members of

society-they achieve, so to speak, rehabilitation." United States v. Torres, 464 F.

Supp. 3d 651,664 (S.D.N.Y. 2020). What is truly extraordinary and compelling

about Mr. Daidone, however, is his devotion to his family, his change in

character, and his desire to help others, and his rehabilitation. See Exhibit C. Mr.

Daidone never passes up even the smallest opportunity to help the men around

him and, in many instances, he has mentor them about doing the right thing and

moral character.

     The criminal justice system is not premised on the idea that conviction

magically changes a person but, "[r]ightly or wrongly, ... on the idea that a

person can-and hopefully will---change after several years locked in prison."

United States v. Lopez, Cr. No. 97-01117 ACK-2, 2020 WL 6298061, at *5 (D.

Haw. Oct. 27, 2020) (quoting United States v. Ledezma-Rodriguez, 472 F. Supp.

3d 498, 506 (S.D. Iowa 2020)). Mr. Daidone's moral development took years of

painful reflection and personal grief. Yet the results cannot be denied. First, and

most fundamentally, Mr. Daidone understands and regrets the harm he has



                                         20
    Case 1:02-cr-01584-RMB       Document 93      Filed 04/29/25   Page 25 of 59




 caused. As Mr. Daidone writes to the Court, "there are not enough words in the

 world to truly reflect the depths ofmy regret and remorse." See Exhibit D.

      Second, Mr. Daidone has a good disciplinary record. Courts have recognized

 how difficult it is to maintain such a record in the violent, stressful, and closely

 monitored environment of a federal prison. See, e.g., Lopez, 2020 WL 6298061,

 at *5 (citing authority from many Districts) ("Maintaining a clear disciplinary

 record is no minor feat in any prison, and that Lopez maintained that record in the

 face of a life sentence strongly supports the likelihood that he would remain a

 rule-abiding individual if released." (internal citations and alterations omitted)).

      Mr. Daidone has gone to great lengths to better himself. He has engaged in

numerous rehabilitative programs. Significantly, Mr. Daidone's rehabilitative

efforts and accomplishments are distinct because he engaged in all such positive

activities without any tangible incentive or potential benefit other than self-

improvement given that his life sentence meant that he could not earn any "good

conduct time" (or any other sentence reduction benefit) and given that he had no

realistic hope of applying that which he learned behind bars in the "real world." See

United States v. Lara, Case No. 95-CR-75 (JJM), 2023 WL 2305938, at* 13 (D.R.I.

Mar. 1, 2020) (reducing life sentence to time-served after 28 years imprisonment for

a former Latin King convicted for his involvement in a carjacking that resulted in a

murder, finding, among other things, that "the rehabilitation that Mr. Lara achieved

                                          21
    Case 1:02-cr-01584-RMB       Document 93      Filed 04/29/25     Page 26 of 59




in prison is extraordinary and compelling (especially considering that Mr. Lara

undertook these rehabilitative efforts expecting that he would still be serving a life

sentence)"); United States v. Yu, Case No. 90-CR-47 (AT), 2020 WL 6873474

(S.D.N.Y. Nov. 23, 2020) (reducing life sentence to time-served after more than 30

years imprisonment for the operator of a large-scale international heroin trafficking

operation based on, among other things, a finding that Mr. Yu had "spent nearly

three decades trying to better himself, despite his life sentence, and without any

tangible incentive other than self-improvement"). Simply put, Mr. Daidone, in the

face of a life sentence, assumed a positive outlook and attitude towards life, sought

to improve himself to the utmost extent possible and was motivated to do so even

though he is serving a life sentence. It should be noted that over the nearly 23 years

that he has been incarcerated Mr. Daidone has never been cited for violating the

rules. This demonstrates that he is not a threat to public safety.

      In denying compassionate release previously in this case the Court looked to

the conduct of the underlining convictions. However, if compassionate release was

premised on only the offense conduct and the character of what a defendant was over

20 years ago it is likely no one would be granted compassionate release. Many judges

in this district, in the Eastern District and Courts across the country have given

second chances for similar conduct to the conduct in the offense in this case through

compassionate release.

                                           22
    Case 1:02-cr-01584-RMB        Document 93     Filed 04/29/25   Page 27 of 59




         See United States v. Thomas Reynolds, (99-CR-520, 5-6-2022). Thomas

Reynolds was a soldier in the Bonanno crime family of La Cosa Nostra. (Gov't

Opp'n (Dkt. 809) at 1-2.) In September 2000, he pleaded guilty to one count of

racketeering in violation of 18 U.S.C. § 1962(c). (Id.) As part of his plea, he

admitted to committing numerous predicates racketeering acts, including drug

distribution, bank robberies and burglaries, extortion, attempted murder, and

several homicides.


         The Court granted a reduction in sentence despite the fact that there were

several homicides finding that "a 36-year sentence is "sufficient, but not greater

than necessary" to comply with the purposes of the federal sentencing factors, and

this reduction is justified by extraordinary and compelling reasons, including

pandemic-related conditions of confinement, Reynolds's rehabilitation, and his

time served in state custody for the gun offense. Again, the Court granted an even

further reduction after a second compassionate release was filed, reducing the

sentence to 32 years. Today Mr. Reynolds is free and living in a federal halfway

house.


         See also United States v. Donato, 03-CR-929 (NGG), at *2 (E.D.N.Y. Feb.

16, 2024 ); in which this Court reduced the sentence on compassionate release.

Between January 1979 until his arrest in November 2004, Mr. Donato participated


                                           23
    Case 1:02-cr-01584-RMB      Document 93     Filed 04/29/25   Page 28 of 59




in illegal gambling operations as a member of the Bonnano organized crime

family. {Presentence Investigation Report ("PSR") (Dkt. 1415) ,r,r 2, 3, 49, 55-59,

66.) For conduct connected to his role in the Bonnano Family, Mr. Donato

pleaded guilty on November 8, 2005 to two counts: (1) illegal gambling and (2)

racketeering conspiracy predicated on attempted murder and owning and

operating gambling businesses, in violation of l 8 U.S.C. §§ 1955, 1962(d).

and l 963(a). (See Superseding Indictment S-3 (Dkt. 220 in No. 3-CR-929);

November 8, 2005 Min. Entry (Dkt. 375 in No. 3-CR-929); PSR ,r,r 1-4, 66-69.)

On August 6, 2008, Mr. Donato pleaded guilty to conspiracy to commit murder in

aid of racketeering in violation of l 8 U.S.C. § I 959(a)(5). (See Superseding

Indictment S-9 (Dkt. 464); Aug. 6, 2008 Min. Entry (Dkt. 509); PSR ,r,r 5-7, 33-

34.) Mr. Donato was then sentenced to a 300-month (25 year) term of

imprisonment plus three years of supervised release. (Judgment (Dkt. 583).)

In United States v. Holloway, 68 F. Supp. 3d 310,311 (E.D.N.Y. 2014); Judge

Gleeson was able to reduce a sentence by 30 years stating, ""Even people who are

indisputably guilty of violent crimes deserve justice, and now Holloway will get

it." Judge Gleeson recognized that some people do deserve a second chance.

      In November 2024, U.S. District Judge Charlene Edwards Honeywell

granted Ronald J. Trucchio, a reputed Gambino crime family caporegime,

compassionate release from his life sentence. The decision was based on his


                                          24
    Case 1:02-cr-01584-RMB       Document 93     Filed 04/29/25   Page 29 of 59




deteriorating health, age (73), and significant rehabilitation efforts during over two

decades of incarceration. Judge Honeywell reduced his sentence to time served,

imposing a ten-year term of supervised release. The court found that Trucchio's

serious medical conditions and rehabilitation efforts indicated he posed a low risk

of recidivism. United States v. Trucchio, No. 8:04-cr-348-CEH-TGW (M.D. Fla.

Nov. 12, 2024).


      The government in this case argued that "Even if this Court finds that

Trucchio has established extraordinary and compelling circumstances within the

meaning of section 1B 1.13, it still should not reduce his sentence because he

remains a danger to the community. As discussed above and as proven at separate

trials in the Southern and Middle Districts of Florida, Trucchio has spent his adult

life as a member of the Gambino Crime Family. Trucchio served first as an

associate and soldier and later as a captain in the Gambino Crime Family. As an

associate and soldier, Trucchio was involved in a wide array of criminal conduct,

including major drug trafficking and violent crimes. As a Gambino Crime Family

captain based in Ozone Park, New York, Trucchio supervised criminal crews that

engaged in a wide pattern of racketeering activities spread across New York, New

Jersey, Florida, and other locations.




                                         25
    Case 1:02-cr-01584-RMB       Document 93     Filed 04/29/25   Page 30 of 59




      The pattern of racketeering included murder, robbery, extortion, kidnapping,

and drug distribution, among other crimes. Doc. 231 at 5-7; SDFL Doc. 262.

Trucchio remains a Gambino Crime Family member. He has never repudiated the

Gambino Crime Family, nor has he offered assistance to the United States in its

efforts to dismantle that violent criminal organization. Indeed, Trucchio's unique

role in that criminal organization will permit Trucchio, if released from prison, to

supervise and engage in any manner of violent criminal conduct and drug

trafficking, regardless of any existing disability or health complication. A ranking

member of La Cosa Nostra, such as Trucchio, can initiate incredible criminal

conduct with nothing more than a verbal order or gesture." (Dkt# 1078 at 11-12).

The Court, despite these arguments, granted Mr. Trucchio a second chance at life

and an opportunity to spend what could be his last days with his family.


      Others have also found a second chance that were involved in serious crimes

in the New York area. For example, Joseph Testa, a former hitman for the

Gambino crime family, was granted parole and released from federal prison on

April 30, 2024, after serving 35 years of a life sentence. His release was not the

result of a compassionate release decision but rather a parole granted by the United

States Parole Commission (USPC). The USPC ordered his release in February

2024, and he was subsequently paroled in April 2024.



                                          26
    Case 1:02-cr-01584-RMB      Document 93     Filed 04/29/25   Page 31 of 59




       Similarly, Testa's codefendant Anthony Senter a notorious hitman for the

Gambino crime family, was released from federal prison after serving 35 years of a

life sentence. In June 2022, the United States Parole Commission (USPC) granted

him parole, setting his release date for June 22, 2024. He was transferred to a

halfway house in New York in December 2023, prior to his release. Others

convicted of similar crimes have found second chances through compassionate

release as well.


□ Vincent Asaro: A reputed member of the Bonanno crime family, Asaro was
granted compassionate release in April 2020 due to health concerns amid the
COVID-19 pandemic. Judge Allyne R. Ross of the United States District Court for
the Eastern District of New York. The case citation is United States v. Asaro, No.
17-CR-127 (ARR), 2020 WL 1903281 (E.D.N.Y. Apr. 17, 2020).

□ Gregory Scarpa Jr.: An alleged caporegime in the Colombo crime family,
Scarpa Jr. was granted compassionate release in November 2020 because of his
deteriorating health due to cancer. United States v. Scarpa, No. 94-cr-1119-1
(ERK).

      See also United States v. Vito Guzzo, Vito Guzzo's legal history is marked

by his leadership of the Giannini Crew, a violent faction associated with multiple

New York Mafia families. In September 1998, Guzzo pied guilty to an 18-count

superseding information in the U.S. District Court for the Eastern District of New

York. The charges included racketeering, racketeering conspiracy, five counts of

murder in aid of racketeering, attempted murders, Hobbs Act robberies, and

assaults with a dangerous weapon.


                                         27
    Case 1:02-cr-01584-RMB       Document 93     Filed 04/29/25   Page 32 of 59




       The murders spanned from 1992 to 1996 and involved victims such as drug

dealers John Ruisi and Steven Pagnozzi, whom Guzzo and his crew executed

during a robbery attempt. Other victims included Ralph Campione Sciulla, a

Gambino associate, and Genovese associate John Borelli, who was dating Guzzo's

ex-girlfriend In 1999, Guzzo was sentenced to 38 years in federal prison. Here Mr.

Daidone has no release date. See also United States v. Neil Messina, Case No. l 1-

CR-31 (KAM), (EDNY). Neil Messina, a reputed associate of the Bonanno crime

family, was released from federal custody earlier than his projected release date of

June 18, 2027. His early release was facilitated by the First Step Act of 2018,

which allows eligible inmates to earn time credits through participation in

rehabilitative programs, thereby reducing their sentences. Messina had been

serving an 18-year sentence for his involvement in a 1992 home invasion robbery

that resulted in the death of Joseph Pistone Jr. He pied guilty in 2014 to

racketeering charges, including extortion and operating an illegal gambling

business. Although the prosecution recommended a 10-year sentence, the judge

imposed an 18-year term, citing compelling evidence that Messina had ordered

another fatal shooting in 1989. As of November 2024, Messina has been residing at

a halfway house in Philadelphia, Pennsylvania. Messina was and is 62 years old

much younger than Daidone with health conditions.




                                          28
    Case 1:02-cr-01584-RMB      Document 93     Filed 04/29/25   Page 33 of 59




      See United States v. Gerald Miller, (EDNY 10-2024). On June 21, 1993,

Gerald Miller was convicted after a seven-week jury trial of a host of crimes in

connection with his role as leader of the once infamous "Supreme Team," a

powerful cocaine-based trafficking organization that wielded substantial and

tyrannical power over parts of Queens County for nearly a decade. Miller's specific

criminal offenses include racketeering; criminally facilitating murder; engaging in

a continuing criminal enterprise involving more than 1500 grams of cocaine base;

conducting financial transactions with the proceeds of narcotics transactions; and

distributing and possessing with intent to distribute more than 50 grams of cocaine

base. Mr. Miller was also implicated in numerous murders and in fact implicated in

committing them himself. Despite this - the Court granted compassionate release,

and Mr. Miller was recently released from prison just months ago.

      See Ramirez, 2021 WL 5233512, at *8, * 10 (reducing sentence of "twice

murderer" and racketeer from 48 to 40 years in light of his "dreadful upbringing,"

his young age when he committed his crimes, and his rehabilitation, which

included participation in drug treatment, numerous classes, self-improvement

programs, and support of fellow inmates); United States v. Qadar, No. 00-CR603

(ARR), 2021 WL 3087956, at *8 (E.D.N.Y. July 22, 2021)."


      For example, another Court reduced a life sentence to 30 years based on the

defendant's acceptance of responsibility for his crimes, his lack of disciplinary

                                          29
     Case 1:02-cr-01584-RMB      Document 93      Filed 04/29/25   Page 34 of 59




 infractions, his commitment to education, his volunteer work, and his mentorship.

 Babb, 2021 WL 2315459, at * 18-20. Judge Blake reduced a life sentence to time

 served-26 years-in light of the defendant's remorse for his crimes, lack of

 disciplinary infractions since 2013, support and mentorship of other prisoners, and

 ties with his family. Gray, 2021 WL 1856649, at *4-6. Other courts have done the

 same when faced with similar circumstances. Torres, 464 F. Supp. 3d at 660-64

 (finding that defendants' rehabilitation and good deeds would likely warrant a

 sentence reduction even absent the COVID-19 pandemic); Millan, 2020 WL

. 1674058, at *15 ("Mr. Millan's extraordinary rehabilitation, together with his

 remorse and contrition, his conduct as model prisoner and man of extraordinary

 character, his leadership in the religious community at FCI Fairton, his dedication

to work with at-risk youth and suicide prevention, and the support of BOP staff at

FCI Fairton ... all constitute extraordinary and compelling reasons justifying a

reduction in sentence."); United States v. Plunk, 453 F. Supp. 3d 1308, 1314 (D.

Alaksa 2020) ("The recommendation letters, achievement certifications, and staff

evaluations clearly support that Defendant has taken his rehabilitation seriously

and that presents other reasons worth consideration for release.").


       Courts have reduced life sentences for defendants of high moral character

 even when that sentence was imposed for murder, See Gray, 2021 WL 1856649,

  at *4 ("Gray's offense was, in a word, chilling. The evidence at trial showed that
                                          30
   Case 1:02-cr-01584-RMB       Document 93     Filed 04/29/25   Page 35 of 59




Gray, at the behest of a drug dealer and with the prospect of some significant

financial gain, planned and committed what amounted to the execution of Jamie

Lee Waller."); Perez, 2021 WL 837425, at *5-6 (reducing life sentence, for

procuring murder, to time served-23 years-based on health conditions and

rehabilitation); United States v. Quinones, No. 00 Cr. 761-1 (JSR), 2021 WL

797835, at *2-4 (S.D.N.Y Feb. 27, 2021) (reducing life sentence, for torture and

subsequent murder, to 35 years based on health conditions and extraordinary

rehabilitation); United States v. Rodriguez, 492 F. Supp. 3d 306,317 (S.D.N.Y.

2020) (reducing life sentence to 30 years, despite "the horrific nature" of the

murder, based on rehabilitation and the risks and hardship imposed by the

COVID-19 pandemic); Lopez, 2020 WL 6298061, at *4-6, *8 (reducing life

sentence for murder to time served-23 years-based on extraordinary

rehabilitation, youth at the time of offense, and numerous good deeds).

     Mr. Daidone's moral development is no less significant. He feels great

remorse for the suffering his criminal conduct had on others. See Babb, 2021 WL

2315459, at * 19; Gray, 2021 WL 1856649, at *5; Lopez, 2020 WL 6298061, at

*5; Torres, 464 F. Supp. 3d at 662; Millan, 2020 WL 1674058, at *8, *10. He has

supported his family, despite the obstacles between him and them. See Quinones,

2021 WL 797835, at *3; Torres, 464 F. Supp. 3d 664. He has devoted significant

time and effort to programing. See Babb, 2021 WL 2315459, at* 19 (describing

                                         31
    Case 1:02-cr-01584-RMB      Document 93     Filed 04/29/25   Page 36 of 59




 similar mentorship programs); Gray, 2021 WL 1856649, at *4 (describing the

 defendant's role in the Victim Awareness Program); cf. Lopez, 2020 WL

 6298061, at *6 (noting the defendant's charity work); Millan, 2020 WL 1674058,

 at *12-14 (praising the defendant's service to other prisoners). He has had a

 positive impact on the lives of his peers, who consider him a role model. See

 Gray, 2021 WL 1856649, at *5; Lopez, 2020 WL 6298061, at *6; Rodriguez, 492

 F. Supp. 3d at 312; Torres, 464 F. Supp. 3d at 662-63. See Babb, 2021 WL

 2315459, at *19; Gray, 2021 WL 1856649, at *4; Quinones, 2021 WL 797835, at

 *2; Lopez, 2020 WL 6298061, at *4; Rodriguez, 492 F. Supp. 3d at 313; Torres,

 464 F. Supp. 3d at 662; Millan, 2020 WL 1674058, at *9.

      Mr. Daidone submits that there is nothing left to achieve in this case,

by him remaining incarcerated besides punishment and a colossal waste of

tax dollars and resources.

      Mr. Daidone has a strong work ethic and has a good employment history as

his circumstances permitted. He has maintained a job in prison and his dedication

to change and becoming the change that he seeks to see in others. He has a strong

belief in God and tries to live according to his moral values. See Gray, 2021 WL

 1856649, at *5; Lopez, 2020 WL 6298061, at *4 & n.4; Millan, 2020 WL

 1674058, at *12. He aspires, when and if released, to use his freedom to help

others avoid the same mistakes that he made. See Lopez, 2020 WL 6298061, at

                                        32
   Case 1:02-cr-01584-RMB       Document 93     Filed 04/29/25   Page 37 of 59




*6; Torres, 464 F. Supp. 3d at 663. See Gray, 2021 WL 1856649, at *5;

Quinones, 2021 WL 797835, at *3; Lopez, 2020 WL 6298061, at *4 n.4, *6

Rodriguez, 492 F. Supp. 3d at 311-12, 314; Millan, 2020 WL 1674058, at *14.

Some courts have held that sufficient moral development can exceed mere

rehabilitation and, by itself, constitute an extraordinary and compelling

circumstance. Torres, 464 F. Supp. 3d at 663-64 ("By any measure, the

[defendants'] good deeds exceed the bounds of what we consider 'rehabilitation.'

... The Court concludes that the [defendants'] contributions are, as the statute

requires, 'extraordinary and compelling."'); Rodriguez, 492 F. Supp. 3d at 313

(citing id.) (same); see also Millan, 2020 WL 1674058, at *8-14 (describing the

moral characteristics that constituted extraordinary and compelling

circumstances); Lopez, 2020 WL 6298061, at *8 (finding extraordinary and

compelling circumstances based on the defendant's extraordinary rehabilitation,

his youth at the time of offense, "his minimal disciplinary record, his charity

work, his informal support for other inmates, his services in helping at-risk youth,

that he does not represent a danger to society, and the ongoing COVID-19

pandemic"). If this has ever been true of a defendant, it is true of Mr. Daidone.

Regardless, rehabilitation may combine with other factors to create extraordinary

and compelling circumstances. McCoy, 981 F.3d at 286 n.9. It does so here.



                                        33
    Case 1:02-cr-01584-RMB      Document 93     Filed 04/29/25   Page 38 of 59




     During his time in prison, Daidone has completed various courses that will

be valuable to him upon release. Daidone's successful completion of prison

educational programs makes him less likely to recidivate upon release.

     See Lois M. Davis, et al., Evaluating the Effectiveness of Correctional

Education: A Meta-Analysis of Programs That Provide Education to Incarcerated

Adults, RAND CORP. (2013) (explaining, a meta-analysis of studies that

evaluated correctional education and post-release recidivism found that "on

average, inmates who participated in correctional education programs had 43

percent lower odds of recidivating than inmates who did not"). Daidone has also

worked various jobs in prison showing his commitment to waking up every

morning and going to work demonstrating his effort at real life skills training,

Exhibit C. Daidone has used his time in prison wisely to gain valuable knowledge

and skills that will allow him to contribute to society upon his release, Exhibit C.

      Moreover in 2023 the United States Sentencing Commission also

made clear that changes in law were a basis for Courts to revisit sentencing

and impose a reduction. In pertinent part the amendments that went into

effect on November 1, 2024 state;

      (6) UNUSUALLY LONG SENTENCES. If a defendant received an

unusually long sentence and has served at least 10 years of the term of

imprisonment, a change in the law (other than an amendment to the guidelines

                                         34
     Case 1:02-cr-01584-RMB       Document 93      Filed 04/29/25    Page 39 of 59




manual that has not been made retroactive) may be considered in determining

whether the defendant presents an extraordinary and compelling reason, but only

where such a change would produce a gross disparity between the sentence being

served and the sentence likely to be imposed at the time the motion is filed, and

after full consideration of the defendants individualized circumstances.

      Count Three ofDaidone's indictment, charging the witness tampering

murder of Bruno Facciolo, carried a mandatory "minimum" statutory sentence of

"life in prison." So Daidone's conviction on that count prevented this Court from

considering mitigating factors and imposing an individualized sentence under 18

USC § 3553(a). Put differently, it denied Daidone the benefit of US v. Booker, the

watershed ruling that made the Sentencing Guidelines advisory, issued while his

case was on direct appeal. If sentenced today the court would not be in a position

wherein it was required to impose a life sentence. The life sentence mandate was

part of the sentencing package doctrine. While this Court previously spoke on this

in its denial it is possible that if sentenced today based on all of the factors this

Court may not have imposed a life sentence or leave such in place.

      Mr. Daidone has a family that loves and cares for him, See Exhibit E. They

are ready and willing to assist Daidone with a successful reentry. If released Mr.

Daidone would be living with his wife Theresa at 3329 Richmond Road Staten

Island, NY I 0306.


                                            35
    Case 1:02-cr-01584-RMB       Document 93     Filed 04/29/25    Page 40 of 59




       Daidone submits that he is no longer a threat to public safety. The biggest

indicator of this is his commitment to rehabilitation, and dramatic character

change. The Court should also consider whether, upon release, the defendant

would pose "a danger to the safety of any other person or to the community." This

Court is not faced with a stark choice between simply turning Daidone loose or

continuing his incarceration. The Court has the option of reducing Daidone's

period of incarceration, followed by a term of supervised release.

      Supervised release, which is laid out at 18 U.S.C. § 3583, was created by

Congress as "a form of post confinement monitoring overseen by the sentencing

court." Johnson v. United States, 529 U.S. 694, 696-97 (2000). As the Supreme

Court has explained, "Congress intended supervised release to assist individuals in

their transition to community life. Supervised release fulfills rehabilitative ends,"

providing "individuals with post confinement assistance" through the supervision

of the court. United States v. Johnson, 529 U.S. 53, 59 (2000). "The court can

provide such assistance because, ' [w]hile on supervised release, the offender [is]

required to abide by certain conditions,' Johnson v. United States, 529 U.S. at

697, such as regularly reporting to a probation officer, pursuing schooling or work,

and refraining from further criminal activity, see U.S.S.G. § 5Dl.3(c); 18 U.S.C. §

3583(d)." United States v. Island, 916 F.3d 249,253 (3d Cir. 2019). Congress




                                          36
     Case 1:02-cr-01584-RMB      Document 93      Filed 04/29/25   Page 41 of 59




has also authorized supervising courts to revoke supervised release and order re-

imprisonment when defendants fail to meet their release conditions. See 18 U.S.C.

§ 3583(e); Johnson v. United States, 529 U.S. at 697.

      Supervised release is routinely imposed as a component of sentencing,

including sentences for crimes far more serious than those of which Daidone has

been convicted. Supervised release affords the court an array of conditions which

it can impose, the defendant's compliance with which will be monitored by a

probation officer. New conditions can be added as necessary. Beyond the low risk

that Daidone now presents, whatever risk there is can be further mitigated by

supervised release. See United States v. Williams, No. 04cr95, 2020 WL 1751545,

at *3 (N.D.Fla. Apr. 1, 2020) (although court could not conclude that defendant

posed no risk at all to public safety, "the risk of him engaging in further criminal

conduct is minimal and can be managed through home confinement and the terms

of his supervised release." In the event the Court is not inclined to grant a reduction

of sentence to time served the Court could also reduce the sentence to a term of

years while not releasing Mr. Daidone immediately. A term of30 years would not

allow Mr. Daidone to leave prison immediately but would provide an opportunity

for him to be released eventually. There are numerous reasons that demonstrate

extraordinary and compelling reasons to reduce the sentence in this case as

outlined above.

                                          37
    Case 1:02-cr-01584-RMB      Document 93     Filed 04/29/25   Page 42 of 59




                                 CONCLUSION

     Mr. Daidone is asking this Court for compassion, and in asking for

that compassion, he asks the Court to consider the fact that he made

irrational and irresponsible decisions that he deeply regrets today. He is no

longer that person. This Court now has the authority to reduce the sentence in

this case based on the First Step Act and Sentencing Commission changes that

place the power back into the hands of the people best suited to decide if a

reduction is warranted - Federal Sentencing Court Judges.

                              Respectfully Requested,



                                   Louis Daidone



April_ _, 2025




                                         38
Case 1:02-cr-01584-RMB   Document 93   Filed 04/29/25   Page 43 of 59




                            EXHIBIT A
Case 1:02-cr-01584-RMB   Document 93   Filed 04/29/25   Page 44 of 59




                                                                        ■
     Case 1:02-cr-01584-RMB      Document 93     Filed 04/29/25    Page 45 of 59




                                    March 17, 2025

 Louis Daidone
 #39065-053
 USP Coleman 1
 USP COLEMAN I
 U.S. PENITENTIARY
 P.O. BOX 1033
 COLEMAN, FL 33521


Warden
USP COLEMAN I
U.S. PENITENTIARY
P.O. BOX 1033
COLEMAN, FL 33521


Dear Warden,
     I am writing to you to request that your office file a motion on my behalf for
a reduction in sentence pursuant to 18 U.S.C. 3582. I believe that there are
extraordinary and compelling reasons to reduce the sentence in my case. Those
reason are ( 1) I am serving an overly harsh sentence that was premised on the
mandatory guidelines, and if sentenced today I could be sentenced to a lower
sentence, (2) my rehabilitation (3) the living conditions that I lived under due to
COVID-19 have been overly harsh, (4) the fact that I can no longer take care of
myself in the prison environment due to my age and medical issues that I have not
been given proper medical attention for, (5) and the sentencing disparities with
myself and codefendants.

     If released I would be living with my wife Theresa at 3329 Richmond Road

Staten Island NY 10306.

                                          1
Case 1:02-cr-01584-RMB   Document 93   Filed 04/29/25   Page 46 of 59




                                 2
Case 1:02-cr-01584-RMB   Document 93   Filed 04/29/25   Page 47 of 59




                            EXHIBITB
Case 1:02-cr-01584-RMB   Document 93   Filed 04/29/25   Page 48 of 59




                             EXHIBITC
            Case 1:02-cr-01584-RMB                              Document 93         Filed 04/29/25        Page 49 of 59



                    lndlviduallzed Needs Plan - Program Review                            (Inmate Copy)             s11:011E11cll: ooco367
                                         Dept. of Ju ■ t..ic■ / Federal Bur■au of Pri•on ■                   Team Date: 05-23-2024
                    Plan ia for inmat.: DUDOIIII., LOUIi              3)065-053
             Faclllty:        COP COLEMAN I USP                                      Proj. Rel: Date: UNKNOWN
              Name:           DAIDONE, LOUIS                                         Proj. Rel. Mthd: LIFE
        Register No.:        39065-053                                                  DNA Status: ALP01334 / 06-08-2011
                             78

 .,..,.....
                Age:
        Date of Birth:       02-23-1946

 !Detaining Agency                                               Remarks
 NO DETAINER

 inmatit Plioio IDStatua •.
 / Ful1 1llltua lncomptele - Expiration: null


 jFacl         Assignment          Description                                          Siert
 COP           REC SPEC            RECREATION SPEC DETAIL                               03-29-2024
 Currwnt Education l~tloii" .
JFacl         Assignment           Description                                          Siert
 COP          ESL HAS              ENGLISH PROFICIENT                                   O!HJ4-1992
 COP          GED HAS              COMPLETED GED OR HS DIPLOMA                          03-25-1992
                                         ··-···---- .. - -- .
Edaicallon      Courua .             .


ISubFacl Action                    Description                                          Start                Stop
COP             C                 RE-ENTRY CLASS                                        08-24-2023           08-24-2023
ALP             C                 HUMAN BODY & CHEM                                     01-19-2022           01-30-2022
ALP             C                 PHYSICAL FIT ANO BEHAVIOR MOD                         11-18-2021           12.02-2021
ALP            C                  URINARY ANO REPRODUCTIVE SYSTS                        10-17-2021           10-31-2021
ALP            C                  NUTRITION;DIGESTIVE AND RESP                          08-25-2021           09.02-2021
ALP            C                  THE CARDIOVSCULAR AND THE LYMP                        07-23-2021           07-29-2021
ALP            C                  ENDOCRINE SYSTEM AND THE                              06-19-2021           07.02-2021
ALP            C                  NERVOUS SYSTEM                                        05-15-2021           06-03-2021
ALP            C                 RHU FDIC $ SMART 11 :FIN RECOVR                        03-11-2021           04-30-2021
ALP            C                 RHU FDIC$ SMART 10:0WN HDME                            03-11-2021           04-30-2021
ALP            C                 RHU FDIC S SMART 9:LOAN                                03-11-2021           04-30-2021
ALP            C                 RHU FDIC $ SMART 8:CHARGE IT                           03-11-2021           04-30-2021
ALP            C                 RHU FDIC$ SMART 7:CREDIT                               03-11-2021           04-30-2021
ALP            C                 RHU FDIC $ SMART 6:KEEP SAFE                           03-11-2021          04-30-2021
ALP            C                 RHU FDIC$ SMART 4:$ MATTERS                            03-11-2021          04-30-2021
ALP            C                 RHU FDIC $ SMART 3:CHECKING                           03-11-2021           04-30-2021
ALP            C                 RHU FDIC S SMART 2:BORROWING                          03-11-2021           04-30-2021
ALP            C                 RHU FDIC $ SMART 1:BANK ON IT                         03-11-2021           04-30-2021
ALP            C                 RHU ANIMAL ANATOMY 14:URINARY                         03-11-2021           04-30-2021
ALP            C                 RHU ANIMAL ANATOMY 13:DIGESTN                         03-11-2021           04-30-2021
ALP            C                 RHU EARLY NORTH AMERICA                               02-16-2021           04-30-2021
ALP            C                 ARTICULAR & MUSCULAR SYSTEM                           04-04-2021           05-08-2021
ALP            C                 THE CAROIOVSCULAR AND THE LYMP                        03--06-2021          03-27-2021
ALP            C                 RHU ACE US CONSTITUTION                               02-22-2021           02-28-2021
ALP            C                 RHU ENHANCING YOUR                                    02-22-2021           02-28-2021
ALP            C                 RHU HISPANIC AMERICANS                                02-16-2021           02-28-2021
ALP            C                 RHUFAMOUSMALESPORTSSTARS                              02.08-2021           02-26-2021
ALP            C                 RHU EXPLORING GEOMETRY                                02-08-2021           02-26-2021
ALP           C                  RHU AMERICAN-INDIAN WARS                              01-07-2021           02-26-2021
ALP           C                  RHU AFRICAN AMERICAN HISTORY                          01.07-2021           02-26-2021
ALP           C                  RHU ACE GENDER EQUALITY                               11.02-2020           01-29-2021
ALP           C                  RHU ACE CLIMATE CHANGE COURSE                         10.07-2020           01-29-2021
ALP           C                  RHU ANIMAL ANATOMY 10:CIRCULAT                        10-15-2020           12-28-2020
ALP           C                  RHU ANIMAL ANATOMY 9:HEART                            10-15-2020           12-28-2020
ALP           C                  RHU ACE HISTORY MANIFEST DEST                         09-17-2020           10-30-2020
Sentry Data as of 05-22-2024                            Individualized Needs Plan - Program Review (Inmate Copy)            Page 1 of 4
            Case 1:02-cr-01584-RMB                            Document 93         Filed 04/29/25             Page 50 of 59



                     lndivlduallzed Needs Plan - Program Review                           (Inmate Copy)              SEQtJBHCE: 00469367
                                 Dept. of r1u■ tice / raderal Bureau of Pri•on ■                                 Team Date: 05-23-2024
                     Plan~• for inaate: DAXDmlS, LOUIS 31065-0Sl
 )subFacl Action                        Description                                      Start                   Stop
 ALP             C                       RHU ACE GUIDE TO ONLINE SAFETY                 08-29-2020                10-30-2020
ALP              C                       RHU RESUME WRITING                             06-04-2020                10-30-2020
ALP              C                       SKELETAL SYSTEM                                10-10-2020                10-31-2020
ALP              C                       RHU OUR SOLAR SYSTEM                          05-14-2020                09-30-2020
ALP              C                      RHU EXPLORING EUROPE                           05-14-2020                09-30-2020
ALP              C                      TISSUES&INTEGUMENTARY                          08-30-2020                09-19-2020
ALP              C                      RHU ASVAB CAREER EXPLORATION                   07-27-2020                08-31-2020
ALP              C                      RHU ANIMAL ANATOMY 2:CLASSIFY                  08-11-2020                08-31-2020
ALP              C                      RHU ANIMAL ANATOMY 1:CHEMICAL                  08-11-2020                08-31-2020
ALP              C                      HUMAN BODY & CHEM                              08--06-2020               08-22-2020
ALP              C                      RHU EMAIL BASICS                               07-13-2020                07-30-2020
ALP              C                      MUSCULAR FLEXIBILITY & COMPRE                  07-05-2020                07-26-2020
ALP              C                      RHU PASS THE US CITZNSHP TEST?                 08-10-2020                07-15-2020
ALP              C                      RHU START A SMALL BUSINESS                     05-28-2020                08-18-2020
ALP              C                      STRESS MANAGEMENT                              05-18-2020                06-06-2020
ALP              C                      ACE WORLD WAR 2 HISTORY IN RHU                 05-21-2020                06-02-2020
ALP              C                      RHU WORLD WAR 1                                05-21-2020                08-02-2020
ALP              C                      ACE EARTH SCIENCE FOR RHU'S                    05-07-2020                05-27-2020
ALP              C                      RHU MANY FACES OF AMERICAN REV                 05-07-2020                05-22-2020
ALP              C                      NUTRITION AND BODY COMP                        04-25-2020                05-10-2020
ALP              C                      ACE INTRO TO TYPING                            03-11-2013                04-18-2013
ALP              C                      ACE INTRO TO TYPING                            09-06-2011                10-20-2011
ALP              C                      SWISSBALL FITNESS MON 12:20PM                  09-30-2004                12-30-2004
p~pllne Hratory (Lui I nioriihs)
)Hearing Date                           Prohibited Acts
- NO INCIDENT REPORTS FOUND IN LAST 6 MONTHS ••
C:uriwnt,cai. Aallgnniiinta .
!Assignment                             Description                                    Start
                                        CARE1-MENTAL HEALTH                            09-24-2010
CARE3                                   UNSTABLE, COMPLEX CHRONIC CARE                 03-28-2023
C:u"-"I Medical Duty Status Aulgn~iitii
!Assignment                             Description                                    Start
PAPER                                   LEGACY PAPER MEDICAL RECORD                    11-07-2018
REG DUTY                                NO MEDICAL RESTR-REGULAR DUTY                  01-27-2010
Currant Drug Aulgnm~
)Assignment                 Description                                                Start
DRG I NONE                  NO DRUG INTERVIEW REQUIRED                                 08-09-2004

FRP Paymal)t Plan.
!Most Recent Payment Plan
FRP Assignment:        NO OBLG                        FINANC RESP-NO                       Start: 08-05-2004
Inmate Decision:  AGREED       $25.00                                           Frequency: MONTHLY
Payments past 6 months:  $0.00                                         Obligation Balance: $0.00
                                                                                 .---····- .. ,-
Finano1a1 oliligi,iioi,o: ·:. .. · ..
!No.          Type·         ·       Amoun1                                   Payable                S1atlll
3             ASSMT                 $500,00                $0.00             IMMEDIATE              COMPLETEDZ
                                            •• NO ADJUSTMENTS MADE IN LAST 6 MONTHS ••
              FINE                  SS,000.00              $4,700.00         IMMEDIATE              VOIDED
                                            .. NO ADJUSTMENTS MADE IN LAST 6 MONTHS ••


F,RP 0epoa1ta -



Sentry Data as of 05-22-2024                          Individualized Needs Plan - Program Review (Inmate Copy)                 Page2 of 4
          Case 1:02-cr-01584-RMB                      Document 93               Filed 04/29/25             Page 51 of 59



                 Individualized Needs Plan - Program Review                            (Inmate Copy)               SJ:QOEIICE: 00469367
                                Dept. of Ju■ tica / Fedtlul Bur■ au of Prbon•                                   T•am Date: OS-23-2024
                 Plan i• for inaat.: DJUDOKI, LOOJS          31065-053

Trust Fund Deposits - Past 6 months:           $1,900.00                Payments commensurate ?            Y
New Payment Pian:         •• No data "
CumiifFSA ~1111111111ntii ·- . -' ·.
jAsslgnment                  Description                                             Start
AWARD                       EBRR INCENTIVE AWARO                                      12-07-2023
FTC ELIG                    FTC-ELIGIBLE - REVIEWED                                   12-02-2019
N-ANGERY                    NEED -ANGER/HOSTILITY YES                                05-21-2024
N-ANTISON                   NEED - ANTISOCIAL PEERS NO                               05-21-2024
N-COGNTVY                   NEED - COGNITIONS YES                                    05-21-2024
N-DYSLEX N                  NEED • DYSLEXIA NO                                       03-03-2022
N-ED\JC N                   NEED - EDUCATION NO                                      05-21-2024
N-!'IN PV N                 NEED - FINANCE/POVERTY NO                                05-21-2024
N-FMIPARN                   NEED - FAMILY/PARENTING NO                               05-21-2024
N-MHLTHN                    NEED· MENTAL HEALTH NO                                   05-21-2024
N-MEDICLY                   NEED • MEDICAL YES                                       05-21·2024
N•RLFN                      NEED • REC/LEISURE/FITNESS NO                            05-21-2024
N-SUB/>B N                  NEED - SUBSTANCE />BUSE NO                               05-21-2024
N-TRAUMAN                   NEED • TRAUMA NO                                         0S-21·2024
N-WORKY                     NEED - WORK YES                                          05-21-2024
R•MIN                       MINIMUM RISK RECIDIVISM LEVEL                            05-21-2024
PtogNu ■Ince tut ravlew
lnmal• Daidone has not completed any programs since 1■11 review. He has maintained dear conduct

Next-Program Review Go■la .
Unit Te■m recommends Inmate Daidone enroll in al leut 1 ACENT dass by next review. He Is further recommended to enroll In and complete the
Anger Management class lo address his FSA Need.

Long Tann Goal■
Unit Team recommends inmate Daidone to complete at least 2 ACENT classes by 1212026.




Comments


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Pta: •10
FTC:  Eligible




Sentry Data as of 05-22-2024                Individualized Needs Plan - Program Review (Inmate Copy)                             Page 3 of 4
                  Case 1:02-cr-01584-RMB       Document 93           Filed 04/29/25           Page 52 of 59


                            FSA Recidivism Risk Assessment (PATTERN 01.03.00)
                                       Jle9i1t•r Number:3P065-053,   La ■ t   H... :DAIOONI
U.S. DEPARTMENT OF JUSTICE                                                                FEDERAL BUREAU OF PRISONS

Register Number: 39065-053                                     Risk Level Inmate .... : R-MIN
Inmate Name                                                      General Level ...... : R-MIN (-2)
    Last ......... : DAIDONE                                     Violent Level ...... : R-MIN (l)·
    First ........ : LOUIS                                    Security Level Inmate:             HIGH
   Middle ....... :                                           Security Level Facl .. :          HIGH
  Suffix ....... :                                            Responsible Facility.:            COP
Gender ......... : MALE                                       Start Incarceration .. :          06/29/2004

PATTERN Workaheet Detail ■
Item: Programs Completed, Value: 40
General Score: -12, Violent Score: -4
Risk Item Data
  Category - Assignment - Start            -              Stop
  EDC        TYPING       03/11/2013 15:36                03/11/2013 15:36
  EDC        RHO-EARTHS   05/07/2020 11:28                05/07/2020 11 :28
  EDC        RHO-FACE     05/07/2020 12:36                05/07/2020 12:36
  EDC        RHO-SOLAR    05/14/2020 12:01                05/14/2020 12:01
  EDC        RHU-EXEU     05/14/2020 14:34                05/14/2020 14: 34
   EDC               RHU-WWl       05/21/2020 11 :29      05/21/2020 11 :29
   EDC               RHU-WW2       05/21/2020 12:07       05/21/2020 12:07
   EDC               RHU-STRTBS    05/28/2020 00:44       05/28/2020 00:44
   EDC               RHO-RESUME    06/04/2020 11 :13      06/04/2020 11: 13
   EDC               RHU-USCITZ    06/10/2020 14:34       06/10/2020 14:34
   EDC               RHU-ONLN-S    06/29/2020 11: 14      06/29/2020 11 :14
   EDC               RHU-EMAIL     07/13/2020 14 :40      07/13/2020 14: 40
   EOC               RHU-CAREER    07/27/2020 08: 26      07/27/2020 08:26
   EOC               RHU-APA2      08/11/2020 14:40       08/11/2020 14:40
   EDC               RHU-APAl      08/11/2020 14:42       08/11/2020 14: 42
   EDC               RHU-OESTNY    09/17/2020 12:15       09/17/2020 12:15
   EDC               RHU-CLIMAT    10/07/2020 11: 12      10/07/2020 11:12
   EDC               RHU-APA9      10/15/2020 13: so      10/15/2020 13:50
   EDC               RHU-APAlO     10/15/2020 13:53       10/15/2020 13:53
   EDC               RHU-GENDER    11/02/2020 11:30       11/02/2020 11:30
   EDC               RHU-AFH       01/07/2021 14: 13      01/07/2021 14:13
   EOC               RHU-AIWAR     01/07/2021 14: 14      01/07/2021 14:14
   EDC               RHU-EXGEO     02/08/2021 14 :01      02/08/2021 14:01
   EDC               RHU-FMSPT     02/08/2021 14 :06      02/08/2021 14:06
   EDC               RHU-HISP      02/16/2021 14 :19      02/16/2021 14:19
   EDC               RHU-NAMER     02/16/2021 14: 57      02/16/2021 14:57
   EDC               RHU-VOCABl    02/22/2021 14 :11      02/22/2021 14: 11
   EDC               RHU-USCONS    02/22/2021 14 :31      02/22/2021 14:31




                                                            (1)                                         Aa ■ • ■ ...ntl R-2146323718
Aa ■ • ■ ---nt   D•U: 05/21/202t
                 Case 1:02-cr-01584-RMB            Document 93        Filed 04/29/25       Page 53 of 59

                           FSA Recidivism Risk Assessment (PATTERN 01.03.00)
                                      R•qi ■ ter   Nu.mber:39065-053, LHt NIIIN: DAIDONE

U.S. DEPARTMENT OF JUSTICE                                                             FEDERAL BUREAU OF PRISONS

   EDC              RHU-MSl       03/11/2021 11 :20          03/11/2021 11:20
   EDC              RHU-MS2       03/11/2021 11 :21          03/11/2021 11: 21
   EDC              RHU-MS3       03/11/2021 11:23           03/11/2021 11:23
   EDC              RHU-MS4       03/11/2021 11 :25          03/11/2021 11:25
   EDC              RHU-MS6       03/11/2021 11 :35          03/11/2021 11: 35
   EDC              RHU-MS7       03/11/2021 11: 47          03/11/2021 11: 47
   EDC              RHU-MSB       03/11/2021 11 :49          03/11/2021 11: 49
   EDC              RHU-MS9       03/11/2021 11 :51          03/11/2021 11: 51
   EDC              RHU-MSlO      03/11/2021 11:57           03/11/2021 11: 57
   EDC              RHU-MSll      03/11/2021 11 :59          03/11/2021 11:59
   EDC              RHO-APA13     03/11/2021 15:10           03/11/2021 15:10
   EDC              RHU-APA14     03/11/2021 15:11           03/11/2021 15:11
-----------------------------------------------------------------------------------------------·
Item: Work Programs, Value: 0
General Score: O, Violent Score: O
Risk Item Data
  No Data




                                                              (2)                                 Aaaea ... ntf R-2146323718
Aa ■ eaamant   Data: 05/21/2024
Case 1:02-cr-01584-RMB   Document 93   Filed 04/29/25   Page 54 of 59
                                     Case 1:02-cr-01584-RMB          Document 93        Filed 04/29/25        Page 55 of 59



                                                                                                                                               p




                            Certificate
                                -       of
                                        -  Compfetion
                                              ....
                                                    This certificate is awarded to

                                                        Louis Daidone
                                                              ua1aone
                            In recognition of successfully completing the ACE course

                       FDIC Money Smart for Older Adults
                                                             Total Hours: 28



                                J.~                                                               ~~
                                                                                                  /uIIZc1-0
                                                                                                 9r-- ~   I


                        Instructor signature                                                   Date


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Case 1:02-cr-01584-RMB   Document 93   Filed 04/29/25   Page 56 of 59




                            EXHIBITD
     Case 1:02-cr-01584-RMB      Document 93     Filed 04/29/25   Page 57 of 59




                                    April 13, 2025

 Louis Daidone
 #39065-053
 USP Coleman l
 USP COLEMAN I
 U.S. PENITENTIARY
 P.O. BOX 1033
 COLEMAN, FL 33521



United States District Court
Honorable Judge Richard Berman
500 Pearl Street
Courtroom 17 B
New York, NY 10007-1312

Dear Judge Berman,

Finding a place to begin this letter seems to be the most difficult. But I think the
best place to begin is by saying I understand that you are not a person that is easily
fooled. I know that you have been on the bench for a while now and there have
been many people that have come before you that are seeking mercy and
sometimes simply grace. I too come before you Judge seeking the same. I am
prayerful that you will see the change in me and my character.

 There is no doubt that I deserved to go to prison, and I must admit that I deserved a
 very significant sentence for the irrational and irresponsible choices that I made in
 life. Today I can tell you with honesty I regret every single one of them. Not
 simply because I am in prison and have been for over 22 years but because of the
 decisions, I made hurt so many people. I want to publicly apologize to the people
 that I have harmed, the family members and my community. I was part of the
 problem and not part of the solution. Today, Judge Berman, I can tell you that I am
 deeply sorry for that. There are not enough words in the world to truly reflect the
.depths of my regret and remorse. I am committed to never again making choices
 that can hurt others, my community, my family, or myself.

I know that granting compassionate release is never an easy choice. Over the years
that I have been here I have seen many people that I have been incarcerated with
                                          1
    Case 1:02-cr-01584-RMB      Document 93     Filed 04/29/25   Page 58 of 59




get that second chance and do great things with it. My hope is to be able to prove
to you that I am worthy of a second chance as well. Failure is not an option for me
in any way, shape or form. All I have to offer is my word to you that if given a
second chance I will not let you down. I will not disrespect the US Attorney's
office by committing any more crimes, or the other people behind me that are also
seeking a second chance, nor my family or the people who have believed in and
supported me over all these years.

If this case is just about punishment, then I deserve everything that was given but if
it is also about change and self-betterment I want you to know that I have made
those changes. I am now 79 years old and have spent many years ofmy life in
federal prison. Things have not been easy for me the last few years with my health
and being able to take care of myself. My hope is to have a chance to spend
whatever little time I have left with my wife, daughter, grandchildren, and family.

Today, Judge Berman, instead of mercy I am asking you for grace. Sometimes
people are simply given grace and today I ask for that in my request for a second
chance to reclaim my life.

                                    Respectfully,

                                   Louis Daidone




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Case 1:02-cr-01584-RMB   Document 93   Filed 04/29/25   Page 59 of 59




                            EXHIBITE




                         [REDACTED]
